                                                                               Case 3:05-cr-00447-CRB        Document 57      Filed 02/07/06    Page 1 of 1



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                                                                         6                           IN THE UNITED STATES DISTRICT COURT
                                                                         7
                                                                                                FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                              UNITED STATES OF AMERICA,                         No. CR- 05-0447-3CRB
                                                                         10
                                                                                           Plaintiff,                           SEALING ORDER PURSUANT TO
                                                                         11
United States District Court




                                                                                                                                GENERAL ORDER 54
                                                                                v.
                               For the Northern District of California




                                                                         12
                                                                              WON G. LIM,
                                                                         13
                                                                                           Defendant.
                                                                         14                                              /
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                                                                                     The following documents in this action are placed under seal and shall not be opened
                                                                         16
                                                                              except by the United States Sentencing Commission for its eyes only and shall not be
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                                                                              transmitted or otherwise opened except by order of this court upon application.
                                                                         18
                                                                                     :     Presentence Report
                                                                         19
                                                                                     9     Plea Agreement
                                                                         20
                                                                                     9     Statement of Reasons
                                                                         21
                                                                                     9
                                                                         22                (Other)
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                                                                              IT IS SO ORDERED.
                                                                         24
                                                                         25
                                                                              Dated: February 7, 2006                          CHARLES R. BREYER,
                                                                         26                                                    UNITED STATES DISTRICT JUDGE
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